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                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF DELAWARE

    UNITED STATES OF AMERICA,                     )
                                                  )
                         Plaintiff,               )
                                                  )
                 v.                               )   Criminal Action No. 23-cr-61 (MN)
                                                  )
    ROBERT HUNTER BIDEN,                          )
                                                  )
                         Defendant.               )

                                      SCHEDULING ORDER

         AND NOW, this 9th day of May 2024, having considered the Revised Motion to Set

Pretrial Schedule (D.I. 102) and the Joint Motion to Set Pretrial Schedule (D.I. 95);

         IT IS HEREBY ORDERED that:

         1.     A jury trial (estimated to be 3-6 days in length) is scheduled to begin on

June 3, 2024 in Courtroom 4A. Counsel shall be present in the Courtroom at 8:30 a.m. on that

day and each succeeding day of the trial.

         2.     A pretrial conference is scheduled for Friday, May 24, 2024 at 2:00 p.m. in

Courtroom 4A. The defendant shall be present for the pretrial conference.

         3.     Expert disclosures are due on or before April 24, 2024.1

         4.     Motions in limine shall be filed by May 13, 2024, with responses due by

May 20, 2024, and replies due by NOON on May 22, 2024. Any motion in limine should not

exceed four pages in length, including argument.        Any motion in limine should include a

representation that the moving party has specifically discussed the subject matter of the motion in



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         Although this date and the date in paragraph 6 have passed, they are the dates the parties
         had proposed, and the Court will not alter them sua sponte. To the extent that the parties
         have not met these deadlines, the Court will hold an in-person status conference on
         May 10, 2024 at 4:30 p.m. in Courtroom 4B.
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limine with the non-moving party, and that the non-moving party opposes the motion. All parties

should be prepared to discuss the motions in limine at the pretrial conference.

       5.       On or before May 17, 2024, the parties shall file a joint request for proposed jury

instructions,   proposed    voir   dire    (a   sample    can    be   found    under    “Forms”     at

www.ded.uscourts.gov/judge/judge-maryellen-noreika), and any joint or individual requests for

special voir dire. If the parties are unable to agree on particular jury instructions, the parties’

request and authority for differing proposals shall be set out adjacently within the joint request (so

that the points of dispute can quickly be discerned).

       6.       On or before April 24, 2024, the defendant shall provide reciprocal discovery to

the government, pursuant to Federal Rule of Criminal Procedure 16(b)(1)(A) and (B).

       7.       The parties shall make any expert disclosures in rebuttal to previously made expert

disclosures on or before May 10, 2024.

       8.       Expert-related motions shall be filed on before May 13, 2024, with responses due

by May 20, 2024, and replies due by NOON on May 22, 2024. All parties should be prepared to

discuss the expert related motions at the pretrial conference.

       9.       On or before May 24, 2024 at 2:00 p.m., the parties shall exchange exhibits,

exhibits lists and witness lists and provide the Court with these lists.



                                                        The Honorable Maryellen Noreika
                                                        United States District Judge




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